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                                                   United States District Court
                                                               Southern District of Florida
                                                                      MIAMI DIVISION

  UNITED STATES OF AMERICA                                                   JUDGMENT IN A CRIMINAL CASE

  v.                                                                         Case Number - 1:15-21004-CR-ALTONAGA-1

  STEPHEN M. COSTA
                                                                             USM Number: 69734-054

                                                                             Counsel For Defendant: Lilly A. Sanchez, Esq.
                                                                             Counsel For The United States: Frank Tamen, Esq.
                                                                             Court Reporter: Stephanie McCarn
  ___________________________________



  The defendant pled guilty to Count 1 of the Indictment.
  The defendant is adjudicated guilty of the following offense:

           TITLE/SECTION                                      NATURE OF
              NUMBER                                           OFFENSE             OFFENSE ENDED                                COUNT

            18 U.S.C. § 1349                       Conspiracy to Commit              December 2013                                1
                                                   Health Care Fraud

  The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
  Sentencing Reform Act of 1984.

  Count Number 2 is dismissed on the motion of the United States.

  It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
  residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
  If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material changes in
  economic circumstances.

                                                                                       Date of Imposition of Sentence:
                                                                                       April 20, 2016



                                                                                       ________________________________
                                                                                       CECILIA M. ALTONAGA
                                                                                       UNITED STATES DISTRICT JUDGE

                                                                                       April 20, 2016
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                                                              IMPRISONMENT
            The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
  term of 35 months.

  The Court makes the following recommendations to the Bureau of Prisons:

               The Court recommends that the defendant is designated to a facility located in or near South Florida.

  The Defendant shall surrender to the United States Marshal for this district on June 30, 2016 at 2:00 P.M.




                                                                RETURN

  I have executed this judgment as follows:




  Defendant delivered on ____________________ to _________________________________________________

  at _________________________________________________________, with a certified copy of this judgment.


                                                                                     __________________________________
                                                                                              UNITED STATES MARSHAL


                                                                                 By:__________________________________
                                                                                                     Deputy U.S. Marshal
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                                                              SUPERVISED RELEASE

               Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years.

            The defendant must report to the probation office in the district to which the defendant is released within 72 hours of
  release from the custody of the Bureau of Prisons.

               The defendant shall not commit another federal, state or local crime.

            The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
  use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
  at least two periodic drug tests thereafter, as determined by the court.

               The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

               The defendant shall cooperate in the collection of DNA as directed by the probation officer.


          If this judgment imposes a fine or a restitution, it is a condition of supervised release that the defendant pay in
  accordance with the Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as any
  additional conditions on the attached page.

                                                 STANDARD CONDITIONS OF SUPERVISION

  1.           The defendant shall not leave the judicial district without the permission of the court or probation officer;
  2.           The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first fifteen days of
               each month;
  3.           The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4.           The defendant shall support his or her dependents and meet other family responsibilities;
  5.           The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
               acceptable reasons;
  6.           The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;
  7.           The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
               controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8.           The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9.           The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
               felony, unless granted permission to do so by the probation officer;
  10.          The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
               contraband observed in plain view by the probation officer;
  11.          The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
               officer;
  12.          The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
               permission of the court; and
  13.          As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
               record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
               defendant’s compliance with such notification requirement.
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                                                    SPECIAL CONDITIONS OF SUPERVISION

               The defendant shall also comply with the following additional conditions of supervised release:

  Financial Disclosure Requirement - The defendant shall provide complete access to financial information, including
  disclosure of all business and personal finances, to the U.S. Probation Officer.

  Health Care Business Restriction - The defendant shall not own, directly or indirectly, or be employed, directly or
  indirectly, in any health care business or service, which submits claims to any private or government insurance company,
  without the Court’s approval, except as otherwise noted during defendant’s sentencing hearing.

  No New Debt Restriction - The defendant shall not apply for, solicit or incur any further debt, included but not limited to
  loans, lines of credit or credit card charges, either as a principal or cosigner, as an individual or through any corporate entity,
  without first obtaining permission from the United States Probation Officer.
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                                                         CRIMINAL MONETARY PENALTIES


         The defendant must pay the total criminal monetary penalties under the schedule of payments on the Schedule of
  Payments sheet.

                   Total Assessment                                    Total Fine                                     Total Restitution

                           $100.00                                     $10,000.00                                       $1,200,000.00



  Restitution with Imprisonment -

           It is further ordered that the defendant shall pay restitution in the amount of $1,200,000.00. During the period of
  incarceration, payment shall be made as follows: (1) if the defendant earns wages in a Federal Prison Industries (UNICOR)
  job, then the defendant must pay 50% of wages earned toward the financial obligations imposed by this Judgment in a
  Criminal Case; (2) if the defendant does not work in a UNICOR job, then the defendant must pay a minimum of $100.00 per
  quarter toward the financial obligations imposed in this order.

           Upon release of incarceration, the defendant shall pay restitution at the rate of 15% of monthly gross earnings, until
  such time as the court may alter that payment schedule in the interests of justice. The U.S. Bureau of Prisons, U.S. Probation
  Office and U.S. Attorney’s Office shall monitor the payment of restitution and report to the court any material change in the
  defendant’s ability to pay. These payments do not preclude the government from using other assets or income of the
  defendant to satisfy the restitution obligations.

               The defendant must make restitution (including community restitution) to the following payees in the amount listed
  below.

           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
  specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I), all
  nonfederal victims must be paid before the United States is paid.

                                                                                                                                    Priority Order
                                                                      Total Amount                     Amount of                    or Percentage
                            Name of Payee                                of Loss                  Restitution Ordered                of Payment

    Centers for Medicare and Medicaid Services                        $1,200.000.00                    $1,200,000.00
    Attn: Division of Accounting, Medicare Part B
    P.O. Box 7520
    Baltimore, Maryland 21207-0520

  *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed on
  or after September 13, 1994, but before April 23, 1996.
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                                                              SCHEDULE OF PAYMENTS

  Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

                 A. Lump sum payment of $10,100.00 due immediately.


  Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
  penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
  Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

  The assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:

                              U.S. CLERK’S OFFICE
                              ATTN: FINANCIAL SECTION
                              400 NORTH MIAMI AVENUE, ROOM 8N09
                              MIAMI, FLORIDA 33128-7716

  The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and the
  U.S. Attorney’s Office are responsible for the enforcement of this order.



               The defendant shall forfeit the defendant’s interest in the following property to the United States:

                             Forfeiture of the defendant’s right, title and interest in certain property is hereby
                             ordered consistent with the plea agreement. If there is to be forfeiture, the
                             Government shall submit a proposed order of forfeiture within three days of this
                             proceeding.

           The defendant’s right, title and interest to the property identified in the preliminary order of forfeiture, which has
  been entered by the Court and is incorporated by reference herein, is hereby forfeited.

           Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
  fine principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court
  costs.
